Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 1 of 9




  IN THE UNITED STATES DISTRICT COURT
  FOR THE DISTRICT OF COLORADO
  Civil Action No. 22-CV-01968

  CARA FUNK

                                 Plaintiff,

  v.

  NEVADA 512, LLC

                          Defendant.
  ________________________________________________________________________

                                COMPLAINT
  ________________________________________________________________________


         Plaintiff Cara Funk (“Plaintiff” or “Ms. Funk”), by and through her attorney, as

  and for her complaint against Defendant Nevada 512, LLC (“Defendant”), alleges as

  follows:

                                              I. CLAIM

         1.      Ms. Funk, a person with a physical disability and mobility impairments,

  brings this action for declaratory and injunctive relief, attorney’s fees, costs, and

  litigation expenses against Defendant for violations of Title III of the Americans with

  Disabilities Act, 42 U.S.C. §§12181, et seq. (“ADA”), and its attendant regulations, the

  Americans with Disabilities Act Accessibility Guidelines (“ADAAG”).

          2.     Defendant refused to provide Ms. Funk and others similarly situated with

  sufficient ADA-compliant parking in the parking lot that serves Travel Inn. At the

  Colorado Springs location, there is no ADA-compliant van-accessible space on the

  shortest access route to the main entrance. There is no disabled parking.

          Based on these facts, Defendant has denied Ms. Funk the ability to enjoy the



                                                                                             1
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 2 of 9




  goods, services, facilities, privileges, advantages, and accommodations at Travel Inn.


                             II. JURISDICTION AND VENUE

         3.      This Court has subject matter jurisdiction over this action pursuant to 28

  U.S.C. §1331 and §1343(a)(3) & (a)(4) for violations of the Americans with Disabilities

  Act of 1990, 42 U.S.C. §12101, et seq.

         4.      Venue is proper in this Court pursuant to 28 U.S.C. §1391(b), as the

  events complained of occurred in Colorado Springs, Colorado, where the Travel Inn

  business is located.


                                         III. PARTIES

         5.      Plaintiff Cara Funk is a resident of Denver, Colorado. Ms. Funk has a

  disability and mobility impairments, as established by the Federal government and the

  Social Security Administration. Ms. Funk has a disabled placard on her vehicle from the

  State of Colorado. Ms. Funk has significant mobility impairments and uses assistive

  devices for mobility. She is a “qualified individual with a disability” within the meaning

  of ADA Title III.

         6.      Defendant Nevada 512, LLC owns, manages, controls, and leases the

  improvements and building where the Travel Inn is situated. The address of Travel Inn is

  512 S. Nevada Ave., Colorado Springs, CO 80903. The business is a place of public

  accommodation, operated by a private entity, whose operations affect commerce within

  the meaning of Title III of the ADA.

         7.      Defendant Nevada 512, LLC is the owner of the property. Defendant is a

  domestic limited liability company whose headquarters is 512 S Nevada Ave., Colorado




                                                                                               2
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 3 of 9




  Springs, CO 80903. Defendant can be served process via service to its Registered Agent:

  Joseph Galloway at 512 S Nevada Ave., Colorado Springs, CO 80903.


                              IV. FACTUAL BACKGROUND

         8.      Travel Inn is a business establishment and place of public accommodation

  in Colorado Springs, Colorado. Travel Inn is situated on real estate, property, and

  improvements owned, controlled, managed, and leased out by Nevada 512, LLC.

         9.      Travel Inn is not accessible to disabled individuals because it has zero

  ADA-compliant van-accessible parking spaces near the main entrance. At the Colorado

  Springs location, there is no ADA-compliant van-accessible space (96” space with 96”

  side access aisle) on the shortest access route to the main entrance. There is no disabled

  parking.

         10.     Pictures taken at the location prove this:




                                                                                               3
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 4 of 9




  Travel Inn business in Colorado Springs, CO. There is no ADA-compliant van-accessible
  space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
  disabled parking.




  Travel Inn business in Colorado Springs, CO. There is no ADA-compliant van-accessible
  space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
  disabled parking.


                                                                                          4
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 5 of 9




  Travel Inn business in Colorado Springs, CO. There is no ADA-compliant van-accessible
  space (96” wide with 96” side access aisle) on the shortest route to the main entrance. No
  disabled parking.

         11.     The Plaintiff went to Travel Inn property in October of 2021.

         12.     In encountering and dealing with the lack of an accessible facility, the

  Plaintiff experienced difficulty and discomfort. These violations denied Plaintiff the full

  and equal access to facilities, privileges and accommodations offered by the Defendant.

  Plaintiff intends to return to Travel Inn. By not having an ADA-compliant parking area,

  the Plaintiff’s life is negatively affected because she is not able to safely remove her

  mobility assistance devices without fear of being struck by a vehicle. This causes the

  Plaintiff depression, discomfort, and emotional stress and the Plaintiff is prevented from

  resuming a normal lifestyle and enjoying access to businesses in her area.

         13.     Additionally, on information and belief, the Plaintiff alleges that the

  failure to remove the barrier was intentional because: (1) this particular barrier is intuitive


                                                                                                5
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 6 of 9




  and obvious; (2) the Defendant exercised control and dominion over the conditions at this

  location and, therefore, the lack of accessible facilities was not an “accident” because

  Defendant intended this configuration; (3) Defendant has the means and ability to make

  the change; and (4) the changes to bring the property into compliance are “readily

  achievable.”

          14.    The Defendant’s Colorado Springs location does not have the required

  number of ADA parking spaces. With 1-25 parking spaces, Defendant must have one

  ADA-compliant van-accessible space (96” Wide with 96” Side Access Aisle) with a sign.

  This space must be located on the shortest accessible route to the main entrance of the

  business. See pictures above.

         15.     At the Colorado Springs location, there are no ADA-compliant van-

  accessible spaces on the shortest access route to the main entrance. There is no disabled

  parking on the property whatsoever.

         16.     The Americans with Disabilities Act (ADA), 42 U.S.C. §12101, has been

  federal law for 30 years. This is a blatant violation of the ADA.


            V. CLAIM FOR RELIEF - VIOLATION OF THE AMERICANS
                WITH DISABILITIES ACT OF 1990, 42 U.S.C. § 12101

         17.     Plaintiff repleads and incorporates by reference, as if fully set forth at

  length herein, the allegations contained in all prior paragraphs of this complaint.

         18.     Under the ADA, it is an act of discrimination to fail to ensure that the

  privileges, advantages, accommodations, facilities, goods and services of any place of

  public accommodation are offered on a full and equal basis by anyone who owns, leases,

  or operates a place of public accommodation. See 42 U.S.C. § 12182(a). Discrimination



                                                                                              6
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 7 of 9




  is defined, inter alia, as follows:

                  a.      A failure to make reasonable modifications in policies practices, or

          procedures, when such modifications are necessary to afford goods, services,

          facilities, privileges, advantages, or accommodations to individuals with

          disabilities, unless the accommodation would work a fundamental alteration of

          those services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).

                  b.      A failure to remove architectural barriers where such removal is

          readily achievable. 42 U.S.C. § 12182(b)(2) (A)(iv). Barriers are defined by

          reference to the ADAAG, found at 28 C.F.R., Part 36, Appendix “D.”

                  c.      A failure to make alterations in such a manner that, to the

          maximum extent feasible, the altered portions of the facility are readily accessible

          to and usable by individuals with disabilities, including individuals who use

          wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to

          the altered area and the bathrooms, telephones, and drinking fountains serving the

          altered area, are readily accessible to and usable by individuals with disabilities.

          42 U.S.C. § 12183(a)(2).

          19.    Pursuant to 28 C.F.R., Part 36, Appendix D (herein after “1991

  Standards”), section 4.1.2, and 36 C.F.R., Part 1191, Appendix B (herein after “2010

  Standards”), section 208.2, if a business provides between 1 and 25 parking spaces,

  Defendant must have at least one ADA-compliant van-accessible space (96” Wide with

  96” Side Access Aisle) near the business entrance.

          20.     Here, the Defendant did not provide a sufficient number of ADA-

  compliant parking spaces in its parking lot, although doing so is easily and readily done,

  and therefore violated the ADA. At the Colorado Springs location, there are no ADA-

                                                                                                 7
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 8 of 9




  compliant van-accessible spaces on the shortest access route to the main entrance. There

  is no disabled parking on the property whatsoever.


                                     VI. RELIEF REQUESTED

  Injunctive Relief

         21.     Ms. Funk will continue to experience unlawful discrimination as a result

  of Defendant’s refusal to comply with the ADA. Injunctive relief is necessary so she and

  all individuals with disabilities can access the Defendant’s property equally, as required

  by law, and to compel Defendant to repave and restripe the parking lot to comply with

  the ADA. Injunctive relief is also necessary to compel Defendant to keep the property in

  compliance with federal law.



  Declaratory Relief

         22.     Ms. Funk is entitled to declaratory judgment concerning Defendant’s

  violations of law, specifying the rights of individuals with disabilities to access the goods

  and services at the Defendant’s location.

         23.     The facts are undisputed and Defendant’s non-compliance with the ADA

  has been proven through on-site photographs. Plaintiff proves a prima facie case of ADA

  violations by the Defendant.



  Attorney’s Fees and Costs

         24.     Plaintiff is entitled to reasonable attorney’s fees, litigation costs, and court

  costs, pursuant to 42 U.S.C. §12205.




                                                                                                8
Case 1:22-cv-01968-STV Document 1 Filed 08/08/22 USDC Colorado Page 9 of 9




                                VII. PRAYER FOR RELIEF

            THEREFORE, Ms. Funk respectfully requests this Court award the following

  relief:

            A.    A permanent injunction, compelling Defendant to comply with the

  Americans with Disabilities Act; and enjoining Defendant from violating the ADA and

  from discriminating against Ms. Funk and those similarly situated, in violation of the law;

            B.    A declaratory judgment that Defendant’s actions are a violation of the

  ADA;

            C.    Find that Ms. Funk is the prevailing party in this action, and order

  Defendant liable for Plaintiff’s attorney’s fees, costs, and litigation expenses; and,

            D.    Grant such other and additional relief to which Plaintiff may be entitled in

  this action.



      DATED: August 5, 2022              Respectfully,

                                         By:     /s/ R. Bruce Tharpe
                                                 R. Bruce Tharpe

                                                 LAW OFFICE OF
                                                 R. BRUCE THARPE, PLLC
                                                 PO Box 101
                                                 Olmito, TX 78575
                                                 (956) 255-5111 (Tel)
                                                 Email: rbtharpe@aol.com
                                                 Questions@BruceTharpeLaw.com
                                                 Admitted in Colorado

                                                 ATTORNEY OF RECORD FOR
                                                 PLAINTIFF CARA FUNK




                                                                                             9
